     Case 8:18-ap-01075-MW            Doc 34 Filed 08/20/18 Entered 08/20/18 17:52:30              Desc
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                                                                         CLERK U.S. BANKRUPTCY COURT
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                                 UNITED STATES BANKRUPTCY COURT
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                    CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
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11   In re:                                            CHAPTER 7

12   Phillip Barry Greer                             Case No.: 8:18-bk-10203-MW
13                                        Debtor(s). Adv No: 8:18-ap-01075-MW

14   Chriss W. Street                                  ORDER ON MOTION TO DISMISS
                                         Plaintiff(s), COMPLAINT
15        v.
                                                       Date:      July 25, 2018
16                                                     Time:      9:00 AM
     Phillip Barry Greer                               Courtroom: 6C
17                                    Defendant(s).

18             The Court, having reviewed and considered defendant’s motion to dismiss
19   complaint and pleadings filed and heard arguments, finds that the complaint states claims
20   upon which relief can be granted and provides sufficient detail as to satisfy Twombly and
21   Iqbal standard. Accordingly, Defendant’s motion to dismiss complaint is DENIED.
22             IT IS SO ORDERED.
23                                                     ###
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              Date: August 20, 2018
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